                                              09CV3222
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 1 of 23 PageID #:7
                                              JUDGE GUZMAN
                                              MAGISTRATE JUDGE KEYS
                                              BR
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 2 of 23 PageID #:8
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 3 of 23 PageID #:9
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 4 of 23 PageID #:10
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 5 of 23 PageID #:11
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 6 of 23 PageID #:12
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 7 of 23 PageID #:13
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 8 of 23 PageID #:14
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 9 of 23 PageID #:15
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 10 of 23 PageID #:16
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 11 of 23 PageID #:17
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 12 of 23 PageID #:18
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 13 of 23 PageID #:19
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 14 of 23 PageID #:20
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 15 of 23 PageID #:21
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 16 of 23 PageID #:22
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 17 of 23 PageID #:23
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 18 of 23 PageID #:24
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 19 of 23 PageID #:25
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 20 of 23 PageID #:26
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 21 of 23 PageID #:27
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 22 of 23 PageID #:28
Case: 1:09-cv-03222 Document #: 1-2 Filed: 05/28/09 Page 23 of 23 PageID #:29
